         A FFID A V IT IN SU PPO R T O F A C R TM IN A L C O M PL A IN T


   1,Justin M asuhr,dphereby swearand deposethe following:

   Iam aSpecialAgentwiththeBtlreauofAlcohol,Tobacco,FirearmsandExplosives(ATF)
   andhavebeen sinceFebruary2008. lam a graduate oftheFederalLaw Enforcem ent

   Training Academy andtheATF N ationalAcademy located in Bnmswick,GA.In m y

   capacity asa SpecialA gentwith theATF,lam educated in FederalCrim inalLaw and I'm

   responsible for enforcing the sam eptlrsuantto the U nited StatesConstitution and Federal

   Crim inalCode.TheATF isan agency oftheExecutiveBranch oftheUnited States

   governm entand ischarged with prosecuting violationsoffederallaw.


   Based upön my training and experiencestated herein above,information provided by other

   law enforcem entofficers,andthrough m ypm icipation in an investigation related to the

   unlawfulpossession ofafireal'm by aconvicted felon in Bristol,Virginiaby Chester

   BOU G HERS and Jonathan SH AW ,Iknow :


   PursuanttoTitle18,USC,Section 922(g)(1)itistmlawf'ulforanypersonwhohas
   been convicted in any courtof,acrim epunishableby imprisonm entforaterm

   exceeding oneyear;to possessin oraffecting com merce,any srearm oramm unition.

5. On May 17,2018,theBristolVirginiaPoliceDepartment(BVPD)wasdispatchedtoa
   shooting in progresson M artin LutherKing Boulevardin city ofBristol,V irginia.

   D ispatch stated the caller wasfollow ing the vehicle thathad fired athim .D ispatch

   stated the suspect's carw asa red in color Chevy possibly driven by Chester

   BOU G HER S.A s BV PD officersresp'onded, dispatch directed offcers to the area of



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       Piedm ontAve.Upon anival,officerslocated thesuspect'scarattheintersection of

       PiedmontAvean4 Glenway Ave.A felony traffic stop wasthen performed on the
       suspectvehicle.

    6. During thrensuing traffic stop,BVPD ofscerslocated ChesterBOUGHERS in the

       driverseatofthevehicleandidentised Jonathan SHAW asapassenger.

       During asearch ofthevehicle,BVPD OfficerLowelocated a Raven Anns.25 Caliber

       pistol(SN 1048831)andasmallblackbagcontainingawhitecrystalsubstanceinthe
       centerofthevehiclenearthe gearshift.Also located in the cénterconsole wasa

       second bag ofwhite crystalsubstance.Thewhite clystalsubstancefield-tested positive

       form ethamphetamine.Thetotalapproximateweightofthebagswas58 grnm s.

       Officersalso locatedneedlesand ablack digitalscaleinsidethevehicle.

       On M ay 30,2018,A TF SA Justin M asuhrand BV PD lpvestigatorA ngela Sim pson

       interviewed M ark Bourque,theindividualwhocalled 911on M ay 17,2018 regarding

       B OU G HER S and SH A W .

    9. Borque stated hehadknown BOUGHERS and SHAW forseveralyears.Borquestated

       he knew BOUGHERS dealtcrystalmethamphetam ine.Borque advised hehad

       purchased drugs from B OU GH ER S in the past.Borque stated he knew BOU G HERS

       soldnarcoticsand would drop itoffto people.Borque stated SHAW wasBOUGHERS

       source ofsupply formethamphetam ine.

    10.Borque said hehad seen apicture ofBOUGIIERS possessing afireal'm on Facebook.

    11.Borque stated he had seen SH A W w ith a fsrearm on tw o occasions. SH A W w as

       know n to carry a black pistol.




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12.SA M asuhrcondudted asearch of1aw enforcementdatabasesand found that,both

   BOUGHERS and SHAW havepreviously been convicted ofafelony and are

   prohibited from possessingfirearm s.SA M asuhralso contactedBOUGHERS and

   SHAW 'Sprobation officerswho stated both individualswere convicted felonsand on

   active probation.

13.0n Janual'
            y 10,2019,ATF SpecialA gentStephen Levesque aInterstateNexusexpert
                       Jm
   exam ined the fireann in question. SA Lev
                        N ln                 esqu;
                                                 edeterminedthatifthisfirenrmwas jv/a
                                            -
                            x ,..n   pmsa ,zçcojur- .ez,-/1 loqszsllt)+ e?l>
   received and/orpossessed in theState ofVirginia,ittraveled in oraffected interstate

   and/or foreign com m erce.

14.On January 10,2019,BVPD InvestigatorSimpson provided SA M asphrwith a copy of

   theVirgsnia StateForensicLabsanalysisshowingboth BOUGHERS and SHAW had

   testedpositiveforgunshotresidue following theshooting incidenton M ay 17,2018.

15.Based upon thefactssetforth above,Ibelievethereisprobablecauseforthe issuanceofan

   arrestwarrantforChesterBOUGHERS and Jonathan SHAW ,dueto unlawfulpossession of

   afirearm by aconvicted felon in Bristol,VA intheW estem DistrictofVirginia.



1declareunderthepenaltyofperjurythattheforegoingistrueandcorrecttothebestofmy
knowledge and belief.

 zzz/z,
Dûte                                            t1n .Mxqnhr
                                            SpecialA gent/ATF


Subscribedandsworntobeforemethis l7X day
                                     ,
                                                         ary2019,atAbingdon,Virginia.

                                                    am ela M eade Sargent
                                                   United StatesM agistrateJudge



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